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                    IN THE UNITED STATES DISTRICT COURT
                       NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

DAYON WHEELER,                         )
                                       )
       Plaintiff,                      )
                                       )
v.                                     ) CIVIL ACTION NO. _________
                                       )
EVANS DELIVERY COMPANY,                )
INC., LEVI SIMMONS, and ACE            )
AMERICAN INSURANCE                     )
COMPANY,                               )
                                       )
       Defendants.                     )

     NOTICE OF REMOVAL BY EVANS DELIVERY COMPANY, INC.

      COMES NOW defendant Evans Delivery Company, Inc., by and through the

undersigned counsel, and pursuant to 28 U.S.C. § 1446 and 28 U.S.C. § 1332, hereby

removes the above-styled action from the State Court of Dekalb County, Georgia

based on the following grounds:

                                       1.

      On or about December 15, 2020, Plaintiff Dayon Wheeler filed suit against

defendants Evans Delivery Company, Inc., Levi Simmons, and Ace American

Insurance Company in the State Court of DeKalb County, Georgia, civil action file

number 20A83955. All process, pleadings and orders received by Evans Delivery

Company, Inc. are attached to this Notice as Exhibit A.
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                                          2.

      The State Court of DeKalb County, Georgia is located within the Atlanta

Division of the United States District Court for the Northern District of Georgia.

                                          3.

      Evans Delivery Company, Inc. was served with process on December 21,

2020. This notice of removal is filed within 30 days of service upon Evans and is

timely pursuant to 28 U.S.C. § 1446. Defendants Ace American Insurance Company

and Levi Simmons consent to the removal through their undersigned counsel.

                                          4.

      Complete diversity of citizenship exists between the parties pursuant to 28

U.S.C. § 1332, because the parties are citizens of different states.

                                         5.

      Plaintiff’s complaint fails to make any allegations as to the state of his

residency. Upon information and belief, however, he is a resident and citizen of the

State of Georgia, having provided police with a home address in Riverdale, Georgia

(in Clayton County) on the date of the subject collision in January, 2020.

                                         6.

      Plaintiff alleges that defendant Simmons resides in South Carolina and may

be served there. (Complaint, ¶ 4). Mr. Simmons is therefore a citizen of South

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Carolina for purposes of diversity jurisdiction.

                                        7.

      Plaintiff alleges that defendant Evans Delivery Company, Inc. is a foreign

corporation authorized to do business in Georgia. (Complaint, ¶ 1). That allegation

is correct. Evans Delivery Company, Inc. is a Pennsylvania corporation which is

incorporated under the laws of Pennsylvania and has its principal place of business

in that state. It is therefore a citizen of Pennsylvania for purposes of diversity

jurisdiction. See 28 U.S.C. § 1332(c)(1).

                                        8.

      Plaintiff alleges that Ace American Insurance Company is a corporation

authorized to do business in Georgia and that it may be served through its registered

agent in Georgia. (Complaint, ¶ 8). Ace is incorporated under the laws of the state

of Pennsylvania and has its principal place of business in that state. Ace is therefore

a citizen of Pennsylvania for purposes of diversity jurisdiction. See 28 U.S.C. §

1332(c)(1). To the extent that it is alleged to insure Evans Delivery Company, Inc.

and Mr. Simmons, it is also (arguably) a citizen of South Carolina as well as

Pennsylvania. 28 U.S.C. 1332(c)(1)(a).

                                        9.

      The amount in controversy in this matter is therefore greater than $75,000.00.

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Plaintiff’s complaint does not contain an ad damnum clause, but alleges that he

suffered and will suffer medical expenses likely to total at least $225,000.00.

(Complaint, ¶ 29).

                                       10.

      The amount in controversy in this matter is therefore greater than $75,000.00

and involves claims over which the Court has original jurisdiction founded on

diversity jurisdiction and the amount in controversy. See 28 U.S.C. §§ 1441(b),

1332, and 1446.

                                        11.

      These defendants have given written notice of the filing of this notice to

Plaintiff and will likewise file a written notice with the Clerk of the State Court of

DeKalb County, a copy of which is attached hereto as Exhibit B.

                                        12.

      The Answer and Defenses of Levi Simmons, Evans Delivery Company, Inc.,

and Ace American Insurance Company is filed contemporaneously with this notice,

and is attached hereto as Exhibit C. Fed. R. Civ. P. 81

                                        13.

      The undersigned has read this notice of removal, and to the best of the

undersigned’s knowledge, information, and belief, formed after reasonable inquiry,

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it is well grounded in fact; is warranted by existing law or an extension or

modification of existing law; and is not interposed for any improper purposes, such

as to harass or cause unnecessary delay or needless increase in the cost of this

litigation.

       This 20th day of January, 2021.

                                         FREEMAN MATHIS & GARY, LLP

                                         /s/ Jennifer C. Adair
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                         CERTIFICATE OF SERVICE

      I hereby certify that I have this day electronically submitted the foregoing

NOTICE OF REMOVAL to the Clerk of Court using the CM/ECF system which

will automatically send electronic mail notification of such filing to counsel of

record who are CM/ECF participants and by placing a copy of the same in the United

States, postage prepaid and properly addressed as follows:

                                Peter A. Law, Esq.
                             E. Michael Moran, Esq.
                              Brian C. Kaplan, Esq.
                                  Law & Moran
                             563 Spring Street, NW
                             Atlanta, Georgia 30308

                            Ronald E. Mabra, Jr., Esq.
                             The Mabra Firm, LLC
                       197 Fourteenth Street NW, Suite 200
                             Atlanta, Georgia 30318

      This 20th day of January, 2021.

                                        /s/ E. Andrew Treese
                                        E. ANDREW TREESE
                                        Georgia Bar No. 556850
                                        atreese@fmglaw.com

                                        Attorneys for Defendants Evans Delivery
                                        Company, Inc. and Ace American Insurance
                                        Company

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